Case 1:16-cr-00228-LO Document 79 Filed 03/19/18 Page 1 of 2 PageID# 342



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division


UNITED STATES OF AMERICA                     )
                                             )
           v.                                )     Case No. 1:16CR228
                                             )
RUSLANS BONDARS                              )
                                             )
           Defendant.                        )


                                 MOTION TO SEAL

       COMES NOW the defendant, Ruslans Bondars, by counsel, and respectfully

moves this Honorable Court for an order sealing Defendant’s Daubert Motion,

Defendant’s Motion to Exclude, Exhibit A to Defendant’s First Motion to Suppress, and

the redacted portions of Defendant’s Second Motion to Suppress, provisionally filed

under seal on March 19, 2018. The defendant makes this motion upon the Government’s

request.




                                            Respectfully Submitted,
                                            RUSLANS BONDARS
                                            By Counsel
                                            HARRIS & CARMICHAEL, PLLC
                                            ______/s/___________
                                            Jessica N. Carmichael, Virginia Bar 78339
                                            Counsel for Defendant
                                            108 N. Alfred Street, 1st Floor
                                            Alexandria, Virginia 22314
                                            (703) 684-7908
                                            jcarmichael@harriscarmichael.com
Case 1:16-cr-00228-LO Document 79 Filed 03/19/18 Page 2 of 2 PageID# 343




                             CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of March, 2018, I will electronically file the
foregoing pleading with the Clerk of Court using the CM/ECF system, which will then
send a notification of such filing (NEF) to all parties in this action.




                                                      ____/s/______________
                                                      Jessica N. Carmichael
                                                      Virginia Bar 78339
                                                      Counsel for Defendant
                                                      108 N. Alfred Street
                                                      Alexandria, Virginia 22314
                                                      (703) 684-7908
                                                      jcarmichael@harriscarmichael.com




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